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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    ROBERT GRUDER,                                    Case No.: 3:20-cv-00796-BEN-AHG
12                                     Plaintiff,
                                                        SCHEDULING ORDER
13    v.                                                REGULATING DISCOVERY
                                                        AND OTHER PRE-TRIAL
14    CRISP MARKETING, LLC, et al.,
                                                        PROCEEDINGS
15                                  Defendants.
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17         Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
18   held on September 18, 2020. After consulting with the attorneys of record for the parties
19   and being advised of the status of the case, and good cause appearing, IT IS HEREBY
20   ORDERED:
21         1.     Any motion to join other parties, to amend the pleadings, or to file additional
22   pleadings shall be filed by October 19, 2020.
23         2.     All fact discovery shall be completed by all parties by January 22, 2021.
24   “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
25   Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period of
26   time in advance of the cut-off date, so that it may be completed by the cut-off date, taking
27   into account the times for service, notice and response as set forth in the Federal Rules of
28   Civil Procedure. Counsel shall promptly and in good faith meet and confer with

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 1   regard to all discovery disputes in compliance with Local Rule 26.1(a). A failure to
 2   comply in this regard will result in a waiver of a party’s discovery issue. Absent an
 3   order of the court, no stipulation continuing or altering this requirement will be
 4   recognized by the court. The Court expects counsel to make every effort to resolve all
 5   disputes without court intervention through the meet and confer process. If the parties
 6   reach an impasse on any discovery issue, the movant must e-mail chambers at
 7   efile_goddard@casd.uscourts.gov no later than 45 days after the date of service of the
 8   written discovery response that is in dispute, seeking a telephonic conference with the
 9   Court to discuss the discovery dispute. The email must include: (1) at least three proposed
10   times mutually agreed upon by the parties for the telephonic conference; (2) a neutral
11   statement of the dispute; and (3) one sentence describing (not arguing) each parties’
12   position. The movant must copy opposing counsel on the email. No discovery motion may
13   be filed until the Court has conducted its pre-motion telephonic conference, unless the
14   movant has obtained leave of Court. All parties are ordered to read and to fully comply
15   with the Chambers Rules of Magistrate Judge Allison H. Goddard.
16         3.     The parties shall designate their respective experts in writing by
17   February 22, 2021. Pursuant to Federal Rule of Civil Procedure 26(a)(2)(A), the parties
18   must identify any person who may be used at trial to present evidence pursuant to Rules
19   702, 703 or 705 of the Federal Rules of Evidence. This requirement is not limited to
20   retained experts. The date for exchange of rebuttal experts shall be by March 22, 2021.
21   The written designations shall include the name, address and telephone number of the
22   expert and a reasonable summary of the testimony the expert is expected to provide. The
23   list shall also include the normal rates the expert charges for deposition and trial testimony.
24         4.     By February 22, 2021, each party shall comply with the disclosure provisions
25   in Rule 26(a)(2)(A) and (B) of the Federal Rules of Civil Procedure. This disclosure
26   requirement applies to all persons retained or specially employed to provide expert
27   testimony, or whose duties as an employee of the party regularly involve the giving of
28   expert testimony. Except as provided in the paragraph below, any party that fails to

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 1   make these disclosures shall not, absent substantial justification, be permitted to use
 2   evidence or testimony not disclosed at any hearing or at the time of trial. In addition,
 3   the Court may impose sanctions as permitted by Federal Rule of Civil Procedure
 4   37(c).
 5            5.   Any party shall supplement its disclosure regarding contradictory or rebuttal
 6   evidence under Federal Rules of Civil Procedure 26(a)(2)(D) and 26(e) by
 7   March 22, 2021.
 8            6.   All expert discovery shall be completed by all parties by April 23, 2021. The
 9   parties shall comply with the same procedures set forth in the paragraph governing fact
10   discovery. Failure to comply with this section or any other discovery order of the court
11   may result in the sanctions provided for in Federal Rule of Civil Procedure 37, including a
12   prohibition on the introduction of experts or other designated matters in evidence.
13            7.   All other pretrial motions must be filed by June 8, 2021. Counsel for the
14   moving party must obtain a motion hearing date from the law clerk of the judge who will
15   hear the motion. The period of time between the date you request a motion date and the
16   hearing date may vary from one district judge to another. Please plan accordingly. Failure
17   to make a timely request for a motion date may result in the motion not being heard.
18   Deadlines for filing motions in limine will be set by the district judge at the final Pretrial
19   Conference.
20            8.   When filing a Motion for Summary Judgment and/or Adjudication, the parties
21   need not file a separate statement of material facts absent prior leave of court.
22            9.   A Mandatory Settlement Conference shall be conducted on August 9, 2021
23   at 9:30 a.m. in the chambers of Magistrate Judge Allison H. Goddard. Plaintiff must
24   serve on Defendant a written settlement proposal, which must include a specific demand
25   amount, no later than July 19, 2021. The defendant must respond to the plaintiff in writing
26   with a specific offer amount prior to the Meet and Confer discussion. The parties should
27   not file or otherwise copy the Court on these exchanges. Rather, the parties must include
28   their written settlement proposals in their respective Settlement Conference Statements to

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 1   the Court. Counsel for the parties must meet and confer in person or by phone no later
 2   than July 26, 2021. Each party must prepare a Settlement Conference Statement, which
 3   will be served on opposing counsel and lodged with the Court no later than July 30, 2021.
 4   The Statement must be lodged in .pdf format via email to
 5   efile_goddard@casd.uscourts.gov (not filed). The substance of the Settlement
 6   Conference Statement must comply fully with Judge Goddard’s Mandatory Settlement
 7   Conference Rules (located at
 8   https://www.casd.uscourts.gov/Judges/goddard/docs/Goddard%20Mandatory%20Settlem
 9   ent%20Conference%20Rules.pdf). Each party may also prepare an optional
10   Confidential Settlement Letter for the Court’s review only, to be lodged with the Court
11   no later than July 30, 2021. The Letter must be lodged in .pdf format via email to
12   efile_goddard@casd.uscourts.gov (not filed). Should a party choose to prepare a Letter,
13   the substance of the Settlement Conference Letter must comply fully with Judge
14   Goddard’s Mandatory Settlement Conference Rules. All parties are ordered to read
15   and to fully comply with the Chambers Rules and Mandatory Settlement
16   Conference Rules of Magistrate Judge Allison H. Goddard.
17         10.    In jury trial cases before the Honorable Roger T. Benitez, neither party, unless
18   otherwise ordered by the Court, is required to file Memoranda of Contentions of Fact and
19   Law pursuant to Civil Local Rule 16.1(f)(2).
20         11.    Counsel shall comply with the pre-trial disclosure requirements of Federal
21   Rule of Civil Procedure 26(a)(3) by September 13, 2021. Failure to comply with these
22   disclosure requirements could result in evidence preclusion or other sanctions under
23   Federal Rule of Civil Procedure 37.
24         12.    Counsel shall meet and take the action required by Civil Local Rule 16.1(f)(4)
25   by September 20, 2021. At this meeting, counsel shall discuss and attempt to enter into
26   stipulations and agreements resulting in simplification of the triable issues. Counsel shall
27   exchange copies and/or display all exhibits other than those to be used for impeachment.
28   The exhibits shall be prepared in accordance with Civil Local Rule 16.1(f)(4)(c). Counsel

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 1   shall note any objections they have to any other parties’ Pretrial Disclosures under Federal
 2   Rule of Civil Procedure 26(a)(3). Counsel shall cooperate in the preparation of the
 3   proposed pretrial conference order.
 4            13.   Counsel for plaintiff will be responsible for preparing the pretrial order and
 5   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By
 6   September 27, 2021, plaintiff’s counsel must provide opposing counsel with the proposed
 7   pretrial order for review and approval. Opposing counsel must communicate promptly
 8   with plaintiff’s attorney concerning any objections to form or content of the pretrial order,
 9   and both parties shall attempt promptly to resolve their differences, if any, concerning the
10   order.
11            14.   The Proposed Final Pretrial Conference Order, including objections to any
12   other parties’ Federal Rule of Civil Procedure 26(a)(3) Pretrial Disclosures shall be
13   prepared, served and lodged with the assigned district judge by October 4, 2021, and shall
14   be in the form prescribed in and comply with Civil Local Rule 16.1(f)(6).
15            15.   The final Pretrial Conference is scheduled on the calendar of the Honorable
16   Roger T. Benitez on October 12, 2021 at 10:30 AM.
17            16.   The parties must review the chambers’ rules for the assigned district judge
18   and magistrate judge.
19            17.   A post trial settlement conference before a magistrate judge may be held
20   within 30 days of verdict in the case.
21            18.   The dates and times set forth herein will not be modified except for good cause
22   shown.
23            19.   Briefs or memoranda in support of or in opposition to any pending motion
24   shall not exceed twenty-five (25) pages in length without leave of a district court judge.
25   No reply memorandum shall exceed ten (10) pages without leave of a district court judge.
26   Briefs and memoranda exceeding ten (10) pages in length shall have a table of contents
27   and a table of authorities cited.
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 1         20.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter this
 2   case hereafter.
 3         IT IS SO ORDERED.
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 5   Dated: September 18, 2020
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